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Case No: C-13-2965-MMC        Case Name: Synopsys, Inc. v. AtopTech, Inc.

                                      EXHIBIT and WITNESS LIST
                                              Continued
PLF   DEF   DATE
NO.   NO    OFFERED      ID     REC    DESCRIPTION                                                     BY
            8:30 am                    Court reconvened - all counsel present
                                       Court and counsel reviewed jury instructions and verdict form
            8:45 am                    Court recess
            9:00 am                    Court reconvened - all counsel present.
                                       Court addressed defense motion (s):
                                       Defendant's motions for judgment as a matter of law for
                                       non-infringement & lack of registered copyright - Denied.
                                       Defendant's motion for judgment as a matter of law that ic
                                       compiler is not a derivative work of primetime - Denied.
            9:08 am                    Jury brought into courtroom
            9:10 am                    Plaintiff's closing argument
            10:24 am                   Concluded
                                       Jury recess - 15 minutes
102         3/8/16       x      x
            10:26 am                   Court recess
            10:42 am                   Court reconvened - with jury
                                       Defendant's closing argument
            12:10 pm                   Concluded
            12:11 pm                   Plaintiff's rebuttal argument
            12:25 pm                   Concluded
            12:26 pm                   Jury recess - 5 minutes
            12:30 pm                   Court recess - 30 minutes
            1:00 pm                    Court reconvened with jury
                                       Court gave jury final instructions
            1:35 pm                    Jury retired to jury room to begin deliberations.
            1:39 pm                    Court recess
            3:37 pm                    Court reconvened - without jury.
                                       Court and counsel addressed Jury Note #1
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3:50 pm              Jury brought into courtroom
                     Court answered jury note # 1
3:56 pm              Jury recess to return 3/9/2016 at 8:30 a.m.
3:57 pm              Court recess

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